         Case 1:22-vv-01278-UNJ              Document 44          Filed 05/13/25        Page 1 of 5




    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 22-1278V


    BOYCE DEAN SPRADLIN,
                                                              Chief Special Master Corcoran
                         Petitioner,
    v.                                                        Filed: April 9, 2025


    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Sarah Knight, Hay & Knight, PLLC, Somerset, KY, for Petitioner.

Felicia Langel, U.S. Department of Justice, Washington, DC, for Respondent.

                      DECISION ON ATTORNEY’S FEES AND COSTS 1

        On September 19, 2022, Boyce Dean Spradlin filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2
(the “Vaccine Act”). Petitioner alleged that he suffered from Guillain-Barré syndrome
following an influenza vaccine received on November 12, 2019. Petition, ECF No. 1. On
August 6, 2024, I issued a decision awarding compensation to Petitioner based on the
parties’ stipulation. ECF No. 34.



1
 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act of
2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
inf ormation, the disclosure of which would constitute an unwarranted invasion of privacy. If , upon review, I
agree that the identified material fits within this definition, I will redact such material f rom public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
       Case 1:22-vv-01278-UNJ        Document 44       Filed 05/13/25    Page 2 of 5




       Petitioner has now filed a motion for attorney’s fees and costs, requesting an award
of $28,588.89 (representing $27,607.80 in fees plus $981.09 in costs). Application for
Attorneys’ Fees and Costs (“Motion”) filed November 18, 2024, ECF No. 39. Furthermore,
counsel for represents that Petitioner incurred no personal out-of-pocket expenses. Id. at
2. Respondent reacted to the motion on November 20, 2024, stating that he is satisfied
the statutory requirements for an award of attorneys’ fees and costs are met in this case,
but deferring resolution of the amount to be awarded to my discretion. Motion at 2-3, ECF
No. 40. Petitioner filed a reply requesting an award of fees and costs as indicated in the
Motion. ECF No. 42.

       I have reviewed the billing records submitted with Petitioner’s requests and find a
reduction in the amount of fees to be awarded appropriate, for the reasons listed below.


                                            ANALYSIS

        The Vaccine Act permits an award of reasonable attorney’s fees and costs for
successful claimants. Section 15(e). Counsel must submit fee requests that include
contemporaneous and specific billing records indicating the service performed, the
number of hours expended on the service, and the name of the person performing the
service. See Savin v. Sec’y of Health & Human Servs., 85 Fed. Cl. 313, 316-18 (2008).
Counsel should not include in their fee requests hours that are “excessive, redundant, or
otherwise unnecessary.” Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521
(Fed. Cir. 1993) (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)). It is “well within
the special master’s discretion to reduce the hours to a number that, in [her] experience
and judgment, [is] reasonable for the work done.” Id. at 1522. Furthermore, the special
master may reduce a fee request sua sponte, apart from objections raised by respondent
and without providing a petitioner notice and opportunity to respond. See Sabella v. Sec’y
of Health & Human Servs., 86 Fed. Cl. 201, 209 (2009). A special master need not engage
in a line-by-line analysis of petitioner’s fee application when reducing fees. Broekelschen
v. Sec’y of Health & Human Servs., 102 Fed. Cl. 719, 729 (2011).

        The petitioner “bears the burden of establishing the hours expended, the rates
charged, and the expenses incurred.” Wasson v. Sec’y of Health & Human Servs., 24 Cl.
Ct. 482, 484 (1991). The Petitioner “should present adequate proof [of the attorney’s fees
and costs sought] at the time of the submission.” Wasson, 24 Cl. Ct. at 484 n.1.
Petitioner’s counsel “should make a good faith effort to exclude from a fee request hours
that are excessive, redundant, or otherwise unnecessary, just as a lawyer in private

                                             2
       Case 1:22-vv-01278-UNJ           Document 44         Filed 05/13/25     Page 3 of 5




practice ethically is obligated to exclude such hours from his fee submission.” Hensley,
461 U.S. at 434.

                                       ATTORNEY FEES
    A. Attorney Hourly Rates

    Petitioner has requested that I endorse the following hourly rates for work performed
in this matter:

                                          2021       2022          2023          2024
           Sarah Knight, Esq.             $444       $458          $482          $509
           Paralegals                     $172       $177          $186          $197

The paralegal rates proposed herein are reasonable and shall be adopted. But the rates
proposed for attorney Knight require further evaluation.

        Ms. Knight has been a licensed attorney since 2007 (Motion at 39-1), placing her
in the range of attorneys with 11 - 19 years’ experience based on the OSM Attorneys’ Fee
Schedules. 3 As such, Ms. Knight is eligible for hourly rates between $355 -$458 per hour
for time billed in 2021-22, and $386 - $509 for time billed in 2023-24. Although Ms.
Knight’s proposed rates fall within OSM’s Fee Schedules given her level of experience,
she seeks rates on the highest end of the ranges – despite her lack of significant
experience handling Program matters, with this appearing to be her first Vaccine Act
case. Prior experience with Program cases is relevant to what hourly rate an attorney
should receive. See McCulloch v. Health and Human Services, No. 09–293V, 2015 WL
5634323, at *17 (Fed. Cl. Spec. Mstr. Sept. 1, 2015) (stating the following factors are
paramount in deciding a reasonable forum hourly rate: experience in the Vaccine
Program, overall legal experience, the quality of work performed, and the reputation in
the legal community and community at large).

       Based on my experience applying the factors relevant to determining proper hourly
rates for Program attorneys, I hereby find it reasonable to award Ms. Knight the lower
hourly rate of $366 for time billed in the 2021-22 timeframe, and $386 for time billed
in the 2023-24 timeframe. Application of the foregoing reduces the amount to be



3
 The OSM Attorneys’ Forum Hourly Rate Fee Schedules are available on the U.S. Court of Federal Claims
website at https://www.uscfc.uscourts.gov/osm-attorneys-forum-hourly-rate-fee-schedules

                                                 3
        Case 1:22-vv-01278-UNJ              Document 44          Filed 05/13/25       Page 4 of 5




awarded herein by $4,735.70. 4 Ms. Knight will be eligible for higher rates in the future,
however, as she demonstrates more experience representing petitioners in the Vaccine
Program.

    B. Paralegal Tasks Billed at Attorney Rates

    In addition to the aforementioned hourly rate reductions, there are several instances
in which tasks that are considered paralegal in nature were improperly billed using the
attorneys’ hourly rate in this matter. 5 Counsel is admonished that “[t]asks that can be
completed by a paralegal or a legal assistant should not be billed at an attorney’s rate.”
See Riggins v. Sec’y of Health & Human. Servs., No. 99-382V, 2009 WL 3319818, at *21
(Fed. Cl. Spec. Mstr. June 15, 2009). Turpin v. Sec’y of Health & Human. Servs., No. 99-
535, 2008 WL 5747914, at *5-7 (Fed. Cl. Spec. Mstr. Dec. 23, 2008). “[T]he rate at which
such work is compensated turns not on who ultimately performed the task but instead
turns on the nature of the task performed.” Doe/11 v. Sec’y of Health & Hum. Servs., No.
XX-XXXXV, 2010 WL 529425, at *9 (Fed. Cl. Spec. Mstr. Jan. 29, 2010).

    Although these billing entries are reasonable, they must be charged at a reduced rate
comparable to that of a paralegal. Accordingly, I reduce the hourly rates for time
expended on tasks considered paralegal in nature, to a rate of $172 per hour for
time billed in 2021-22 and $186 per hour for time billed in 2023-24. Application of the
foregoing further reduces the fees to be awarded herein by $1,662.00. 6

      Petitioner has otherwise provided supporting documentation for all claimed costs.
ECF No. 35-1 at 15-17. Respondent offered no specific objection to the requested costs.
Accordingly, I find the requested costs reasonable and hereby award them in full.




4
  This amount is calculated as ($444 - $366 = $78 x 6.30 hrs.) + ($458 - $366 = $92 x 11.20 hrs.) + ($482
- $386 = $96 x 23.10 hrs.) + ($509 - $386 = $123 x 8.10 hrs.) = $4,735.70.
5
  Examples of tasks considered paralegal in nature: 9/14/22: “E-f ile complaint, PAR medical history
questionnaire; civil cover sheet; petition; af fidavit…” 10/13/22: “update index to Exhibits Prepare and file
Notice of Filing E-file statement of Completion...” 12/2/22: “File supplemental records...” 1/20/23: “Save and
review scheduling order; calendar deadlines.” 2/11/23; 2/17/23; 11/9/23; 11/19/23; 12/11/23 (two entries);
12/12/23; 12/14/23; 1/31/24; 3/20/24; 9/13/24. See ECF No. 39-2.
6
 This amount is calculated using Ms. Knight’s newly awarded rates: ($366 - $172 = $194 x 3.00 hrs.) +
($386 - $186 = $200 x 5.40 hrs.) = $1,662.00.

                                                      4
        Case 1:22-vv-01278-UNJ           Document 44        Filed 05/13/25      Page 5 of 5




                                          CONCLUSION

       The Vaccine Act permits an award of reasonable attorney’s fees and costs for
successful claimants. Section 15(e). Accordingly, I hereby GRANT in part, Petitioner’s
Motion for attorney’s fees and costs. I award a total of $22,191.19 (representing
$21,210.10 in fees plus $981.09 in costs) to be paid through an ACH deposit to
Petitioner’s counsel’s IOLTA account for prompt disbursement. In the absence of a
timely-filed motion for review (see Appendix B to the Rules of the Court), the Clerk of
Court shall enter judgment in accordance with this Decision. 7



IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




7
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                  5
